                 THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         ASHEVILLE DIVISION
                 CRIMINAL CASE NO. 1:10-cr-00066-MR-1



UNITED STATES OF AMERICA,       )
                                )
         vs.                    )                        ORDER
                                )
                                )
RAYMOND DANGELO ALLEN.          )
_______________________________ )

      THIS MATTER is before the Court on remand from the Fourth Circuit

Court of Appeals for resentencing. United States v. Allen, No. 12-4168 (4th

Cir. April 26, 2013).

      IT IS, THEREFORE, ORDERED as follows:

      (1)     The United States Marshal shall have the Defendant present in

      Asheville, North Carolina, for the September 2013 sentencing term;

      (2)     The Clerk of Court shall calendar this matter for that term;

      (3)     The Federal Defender shall arrange for the appointment of

      counsel to the Defendant for resentencing; and

      (4)     The   United    States   Probation    Office    shall     provide     a

      supplemental presentence report.




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     The Clerk is directed to provide notification and/or copies of this

Order to the United States Attorney, the Federal Defenders, the United

States Marshals Service, and the United States Probation Office.

     IT IS SO ORDERED.             Signed: May 25, 2013




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